
9 N.Y.2d 664 (1961)
Adolph Tausik, Respondent,
v.
Helen T. Tausik, Appellant.
Court of Appeals of the State of New York.
Argued November 29, 1960.
Decided January 19, 1961.
Sidney A. Wolff and Joseph F. Seminara for appellant.
Meyer Kraushaar for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, FROESSEL, VAN VOORHIS, BURKE and FOSTER.
Order affirmed, without costs; no opinion.
Motion to strike certain matter from the brief of respondent on the appeal herein granted upon the ground that the separation action was not considered below and reference to it is unnecessary to the result reached.
